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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

   LUV N’ CARE, LTD.                                  *   CIVIL ACTION NO. 3:16-cv-00777
        Plaintiff,                                    *
                                                      *   JUDGE TERRY A. DOUGHTY
   v.                                                 *
                                                      *   MAGISTRATE JUDGE JOSEPH H.
   LINDSEY LAURAIN, EASY-PZ, LLC                      *   L. PEREZ-MONTES
        Defendants                                    *
                                                      *   (JURY TRIAL DEMANDED)

                 LNC’S MOTION FOR LEAVE TO FILE A REPLY
     IN SUPPORT OF MOTION IN LIMINE NO. 1: EZPZ SHOULD BE PRECLUDED
    FROM INTRODUCING EVIDENCE AS TO WILLIAMS AND LAURAIN’S INTENT
           OR STATE OF MIND IN THEIR DEALINGS WITH THE USPTO

           NOW INTO COURT, through undersigned counsel comes Luv n’ care, Ltd. (“LNC”)

   who moves this Court for leave to file the attached proposed Reply in Support of Motion in

   Limine No. 1: EZPZ Should be Precluded from Introducing Evidence as to Williams and

   Laurain’s Intent or State of Mind in Their Dealings With the USPTO (the “Motion in Limine”).

   In support of this Motion, LNC avers as follows:

                                                  1.

           One November 22, 2019, LNC filed the Motion in Limine seeking to preclude Laurain

   and Williams from testifying about their intent or state of mind during prosecution of the ‘903

   Patent given EZPZ’s assertion of the attorney-client and patent agent privileges during fact

   discovery.

                                                  2.

           On December 13, 2019, Eazy-PZ, LLC (“EZPZ”) submitted an Opposition to LNC’s

   Motion in Limine making clear that it fully intends to offer at trial testimony from Laurain and

   Ben Williams, Laurian’s patent-agent, concerning their alleged good faith intent in the



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   prosecution of the ‘903 Patent. See Dkt. 455 at p. 1 (“there is no valid basis to preclude the

   testimony of Ben Williams or Lindsey Laurain as to their intent or state of mind before the

   [USPTO]; and, they should be permitted to testify that their submissions were made in good

   faith”); Dkt. #455-4, pp. 16-17 (“patent agent Ben Williams and Lindsey Laurain are entitled to

   testify about their own intent relating to their decisions and submissions to the patent office”).

                                                    3.

           The proposed reply addresses the arguments asserted by EZPZ in its opposition. LNC

   respectfully submits that the attached proposed Reply memorandum will assist the Court in

   resolving the pending Motion in Limine, and therefore requests leave to file it.

                                                    4.

           The proposed Reply discusses documents that refer to the parties’ confidential

   information, and is therefore being filed under seal.

           WHEREFORE, Luv n’ care, Ltd. respectfully requests the Court grant its Motion for

   Leave to File a Reply in Support of Motion in Limine No. 1: EZPZ Should be Precluded from

   Introducing Evidence as to Williams and Laurain’s Intent or State of Mind in Their Dealings

   With the USPTO.

   Date: December 18, 2019

                                                  Respectfully submitted,

                                                  /s/ Carol W. Reisman
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                                                Attorneys for Luv n’ care, Ltd., Admar
                                                International, Inc., and Nouri E. Hakim


                               RULE 7.4.1 CERTIFICATE OF COUNSEL

           Carey Menasco of Liskow & Lewis, APLC and counsel for Luv n’ care, Ltd. (“LNC”)

   conferred in good faith with counsel for Eazy-PZ, LLC (“EZPZ”) by email correspondence on

   December 17, 2019. EZPZ opposes the filing of this Reply.

                                                /s/ Carol W. Reisman


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on December 18, 2019, the foregoing pleading was filed

   electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be

   sent to all counsel of record registered to receive electronic service by operation of the Court’s

   electronic filing system.

                                                /s/ Carol W. Reisman




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